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                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

__________________________________________

MSC Mediterranean Shipping Company, S.A.,)
                                         )
            Petitioner,                  )
                                         )
      v.                                 )                 No. 24-1007
                                         )
Federal Maritime Commission,             )
                                         )
            Respondent.                  )
                                         )
__________________________________________

        NONBINDING STATEMENT OF ISSUES OF PETITIONER
          MSC MEDITERRANEAN SHIPPING COMPANY, S.A.

      Pursuant to the Court’s Order of January 23, 2024, Petitioner MSC

Mediterranean Shipping Company, S.A. (“MSC”) submits the following nonbinding

statement of issues to be raised:

   1. Did the Commission err in holding that it had jurisdiction over the dispute at

      issue, notwithstanding the Shipping Act’s prohibition in 46 U.S.C. § 40502(f)

      on the Commission’s exercise of jurisdiction over claims for service contract

      breaches, and given the Commission’s holding in Cargo One v. COSCO

      Containers, 2000 FMC LEXIS 14, at *1644 (FMC Oct. 31, 2000) that claims

      “premised on the obligation to meet one’s contract commitments” are “outside

      its jurisdiction”?
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  2. Did the Commission err in concluding it had jurisdiction notwithstanding the

     parties’ express agreement stating that “[a]ny disputes arising out of or in

     connection with” each of the service contracts at issue should be resolved by

     binding arbitration, given that the Commission’s authority to hear Shipping

     Act violation claims in the context of an express arbitration agreement exists

     only when the claims do not arise out of and are not in connection with a

     contract under which the parties have agreed to arbitration? See Federal

     Arbitration Act, 9 U.S.C. §§ 1, et seq.

  3. Did the Commission err in affirming a finding of default where MSC appeared

     and defended the case, where it participated in all proceedings, and when the

     basis for default was MSC’s inability to provide certain discovery without

     risking criminal jeopardy due to Swiss blocking statutes, Section 271 and

     Section 273 of the Swiss Criminal Code, unless procedures under the Hague

     Convention were used, and where MSC diligently attempted to invoke those

     procedures, culminating in a ruling by the Swiss Minister of Justice that the

     procedures were available, but the Commission’s Administrative Law Judge

     refused to allow MSC to pursue them and instead found MSC in default for

     failure to provide the discovery?

  4. Did the Commission err in affirming a finding of default based on MSC’s

     asserted inability to comply with discovery due to Swiss blocking statutes


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     without engaging in government-to-government consultations to resolve the

     conflict as required by 46 U.S.C. § 41108(c)(2)?

  5. Did the Commission err in finding default without assessing the importance

     of the disputed discovery to the issues in the case, particularly in light of the

     extensive discovery MSC had already provided, and in failing to meaningfully

     consider whether sanctions short of default would be adequate to resolve the

     case on the merits and basing its conclusions on this point, among other things,

     on incorrect statements as to what discovery had and had not been produced?

  6. Did the Commission err in finding that a discrimination claim brought by a

     shipper states a claim, despite the plain language and legislative history of the

     Shipping Act providing that the Shipping Act does not permit claims of

     discrimination among shippers for contract as opposed to tariff carriage, and

     as to contract carriage allows only claims of discrimination directed against

     ports?

  7. Did the Commission err in finding that a refusal to deal claim was stated under

     the Shipping Act when the record evidence confirmed that MSC dealt with

     the Complainant and the Complainant chose to accept only a portion of MSC’s

  8. Was the Commission’s decision arbitrary and capricious because it failed to

     deal with, explain, or distinguish contrary agency precedent?




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                                Respectfully submitted,

                                /s/ Michel F. Scanlon_

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February 22, 2024




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this 22nd day of February, 2024, caused to be

served copies of the foregoing via the Court’s ecf system.




                                __/s/ John Longstreth_____
                                    John Longstreth




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